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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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SQRL HOLDINGS LLC, and STANDARD
DEVELOPMENT COMPANY LLC,                                                CASE NO. 24-cv-2691 RPK-PK

                                    Plaintiffs,
v.
                  -against-

PROVENTURE CAPITAL LLC

                                      Defendant.
                                                                 x

                                   SUMMONS IN A CIVIL ACTION
TO DEFENDANT:                        PROVENTURE CAPITAL LLC
                                    500 W. Putnam Avenue, Suite 400
                                    Greenwich, CT 06830

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on the plaintiffs an answer to
the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiffs or plaintiffs’ attorney, whose name and address
are:

David T. Azrin, Esq,
Wuersch & Gering LLP
100 Wall Street, 10th Floor
New York, NY 10005

If you fail to respond, judgment by default will be entered against you for the relief demand in the
complaint. You also must file your answer or motion with the court.

                                                             BRENDA B. MAHONEY
                                                             CLERK OF COURT
        4/11/2024                                            s/Kimberly Davis
Date:_____________________________                           _____________________________________
